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 9
                                     UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                              OAKLAND DIVISION
12
     J.R.G., et al.,                                 )   CASE NO. 4:22-cv-05183-KAW
13                                                   )
              Plaintiffs,                            )   STIPULATION AND [PROPOSED] ORDER TO
14                                                   )   SET BRIEFING SCHEDULE AND INCREASE
         v.                                          )   PAGE LIMITS AND TO CONTINUE CASE
15                                                   )   MANGEMENT SCHEDULE
     UNITED STATES OF AMERICA,                       )
16                                                   )
              Defendant.                             )
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20            WHEREAS on September 12, 2022 Plaintiffs filed their Complaint in this action;
21            WHEREAS on September 13, 2022, the Clerk of Court issued an Order Setting Initial Case
22 Management Conference and ADR Deadlines that, among other things, provided deadlines for the

23 parties’ Rule 26(f) conference (November 22, 2022), their Case Management Statement (December 6,

24 2022) and a Case Management Conference (December 13, 2022);

25            WHEREAS on October 6, 2022 Plaintiffs served their Complaint on the United States Attorney
26 for the Northern District of California;

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 1          WHEREAS pursuant to Federal Rule of Civil Procedure 12(a)(2), the deadline for Defendant to

 2 answer or otherwise respond to Plaintiffs’ Complaint is December 5, 2022, which is 60 days after said

 3 service on the United States Attorney;

 4          WHEREAS Defendant intends to file a dispositive motion on December 5, 2022; and

 5          WHEREAS the parties have conferred about (1) setting a briefing schedule for said motion to be

 6 filed by the Government on December 5, 2022 and (2) continuing the case management deadlines to

 7 occur as soon as possible after resolution the Government’s motion,

 8

 9          Pursuant to Civil Local Rules 6-2 and 7-12, and subject to the Court’s approval, the parties

10 stipulate as follows:

11          (1)     The parties propose the following briefing schedule:

12          Defendant’s motion                     December 5, 2022

13          Plaintiffs’ opposition                 January 12, 2023

14          Defendant’s reply                      February 1, 2023

15          Hearing                                February 16, 2023

16          (2)     In light of the issues raised in the Complaint, the parties respectfully request that their

17 briefing on their responsive pleading be permitted to exceed the pages limits set forth in Civil Local

18 Rules 7-2 and 7-3. Specifically, the parties request that Defendant be permitted 30 pages for its motion,
19 Plaintiffs be permitted 30 pages for their opposition, and Defendant be permitted 18 pages for its reply.

20          (3)     The parties further propose that the Court continue the case management deadlines set by

21 the Clerk of Court prior to the service of the Complaint (i.e., the Rule 26(f) conference, the filing of a

22 Case Management Statement and a Case Management Conference) such that they would take place as

23 soon as possible after the Court has resolved the Government’s motion. In the event the Court denies the

24 Government’s motion, the parties propose the following case management deadlines:

25                  Defendant’s Answer                     Due 21 days after denial of motion

26                  Rule 26(f) Conference                  To be held within 14 days of Answer

27                  CMC Hearing                            To be held within 21 days of Rule 26(f) Conference

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 1                  CMC Statement                           To be filed 7 days prior to CMC hearing

 2

 3          IT IS SO STIPULATED.

 4 Dated: November 9, 2022                                  LAW OFFICE OF JULIANNA RIVERA

 5
                                                      By:          /s/ Julianna Rivera
 6                                                          Julianna Rivera

 7                                                          NORTHWEST IMMIGRANT RIGHTS PROJECT

 8                                                    By:         /s/ Matt Adams
                                                            Matt Adams
 9                                                          Aaron Korthuis

10                                                          Counsel for Plaintiffs

11
     Dated: November 9, 2022                                Respectfully submitted,
12
                                                            STEPHANIE M. HINDS
13                                                          United States Attorney

14                                                           /s/ Kenneth W. Brakebill
                                                            Kenneth Brakebill
15                                                          Assistant United States Attorney
16                                                          Counsel for the United States of
                                                            America
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18                                           ECF ATTESTATION
19          In accordance with Civil Local Rule 5-1(h)(3), I, Kenneth Brakebill, attest that I have obtained
20 concurrence in the filing of this document from all other signatories listed here.

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28 STIPULATION AND [PROPOSED] ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS AND
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 1                               DECLARATION OF KENNETH BRAKEBILL

 2          I, Kenneth Brakebill, declare and state as follows:

 3          1.       I am an Assistant United States Attorney for the Northern District of California and

 4 counsel for the United States of America in this action. I have personal knowledge of the matters set

 5 forth below, except those matters that are based on information and belief, which I believe to be true, and

 6 could and would testify competently to them if called to do so.

 7          2.       I submit this declaration in support of the Stipulation and [Proposed] Order to Set

 8 Briefing Schedule and Increase Page Limits and to Continue Case Management Schedule pursuant to

 9 Civil Local Rules 6-2 and 7-12.

10          3.       Plaintiffs, consisting of an immigrant parent and child who crossed the border into Texas

11 in May 2018, filed an 18-page complaint in this action pursuant to the Federal Tort Claims Act, 28

12 U.S.C. §§ 1346(b)(1), 2671-2680. Plaintiffs assert three separate claims for relief, including intentional

13 infliction of emotional distress, abuse of process and wrongful child abduction. ECF No. 1.

14          4.       The parties stipulate to and request a briefing schedule for the dispositive motion the

15 Government plans to file on December 5, 2022 in response to the Complaint. This briefing schedule

16 would alter the normal 35-day motion calendar to allow additional time for the parties to address the

17 myriad issues raised in the Complaint and also accommodate the holiday schedule, by providing

18 Plaintiffs 24 extra days for opposition and Defendant 20 extra days for reply.
19          5.       In light of the issues raised in the Complaint, the parties also respectfully request that

20 their briefings on any responsive pleading be permitted to slightly exceed the 25-25-15 page limits set

21 forth in Civil Local Rules 7-2 and 7-3 for motion-opposition-reply. Specifically, the parties request that

22 Defendant be permitted 30 pages for its motion, Plaintiffs be permitted 30 pages for their opposition,

23 and Defendant be permitted 18 pages for its reply.

24          6.       Because Defendant is filing a dispositive motion that could impact what issues, if any,

25 will remain in the case for resolution, for judicial economy reasons the parties further propose that the

26 Court continue the case management deadlines set by the Clerk of Court prior to the service of the

27 Complaint. The parties respectfully request that the Court continue the current deadlines for the Rule

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 1 26(f) conference (November 22, 2022), the filing of a Case Management Statement (December 6, 2022)

 2 and a Case Management Conference (December 13, 2022) to take place as soon as possible after the

 3 Court has resolved the Government’s motion, in the event the Court denies the Government’s motion.

 4 The parties’ proposal provides for minimal delay in resuming the case schedule after the Court’s ruling:

 5                   Defendant’s Answer                  Due 21 days after any denial of motion

 6                   Rule 26(f) Conference               To be held within 14 days of Answer

 7                   CMC Hearing                         To be held within 21 days of Rule 26(f) Conference

 8                   CMC Statement                       To be filed 7 days prior to CMC hearing

 9          7.       There have been no previous time modifications in the case.

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11          I declare under penalty of perjury under the laws of the United States of America that the

12 foregoing is true and correct.

13 Dated: November 9, 2022                        /s/ Kenneth Brakebill
                                                  Kenneth Brakebill
14                                                Assistant United States Attorney

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28 STIPULATION AND [PROPOSED] ORDER TO SET BRIEFING SCHEDULE AND INCREASE PAGE LIMITS AND
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 1                                            [PROPOSED] ORDER

 2          Pursuant to stipulation, IT IS SO ORDERED that:

 3          1.       The briefing schedule for Defendant’s motion in response to Plaintiffs’ Complaint shall

 4 be as follows:

 5                   Defendant’s motion                    December 5, 2022

 6                   Plaintiffs’ opposition                January 12, 2023

 7                   Defendant’s reply                     February 1, 2023

 8                   Hearing                               February 16, 2023

 9          2.       Defendant is permitted 30 pages for its motion, Plaintiffs are permitted 30 pages for their

10 opposition, and Defendant is permitted 18 pages for its reply.

11          3.       The current deadlines for the parties’ Rule 26(f) conference (November 22, 2022), their

12 Case Management Statement (December 6, 2022) and a Case Management Conference (December 13,

13 2022) shall be vacated pending the Court’s resolution of Defendant’s dispositive motion to be filed on

14 December 5, 2022. In the event the Court denies the Government’s motion, the case schedule shall

15 resume as follows:

16                   Defendant’s Answer                    Due 21 days after denial of motion

17                   Rule 26(f) Conference                 To be held within 14 days of Answer

18                   CMC Hearing                           To be held within 21 days of Rule 26(f) Conference

19                   CMC Statement                         To be filed 7 days prior to CMC hearing

20

21 DATED: ____________
                                                           HON. KANDIS A. WESTMORE
22                                                         United States Magistrate Judge
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     [PROPOSED] ORDER
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